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            In the United States District Court
            for the Southern District of Georgia
                    Brunswick Division                                     FILED
                                                                John E. Triplett, Acting Clerk
                                                                 United States District Court

UNITED STATES OF AMERICA,                                   By CAsbell at 10:48 am, Apr 28, 2020



       v.                                        CR 2:14-014

LARRY JAMES CARTER,

       Defendant.

                                  ORDER

       Before the Court is Defendant Larry Carter’s “motion for

request of informations,” wherein he requests a free copy of his

plea agreement, sentencing transcript, and docket sheet.                Dkt. No.

398.     On October 1, 2014, Carter pleaded guilty to Count 1,

conspiracy to possess with intent to distribute, and to distribute,

quantities of cocaine and cocaine base, both Schedule II controlled

substances, and 1,3-Methylenedioxy-N-Methylcathinone (“Molly”), a

Schedule    I   controlled   substance,   in   violation   of    21           U.S.C.

§§ 841(a)(1), (b)(1)(C) and 846.          On June 24, 2015, Carter was

sentenced to 235 months’ imprisonment, to be served consecutively

to the revoked term of federal supervised release in another case

(2:04cr002), followed by three years’ supervised release.

       Now, nearly five years after he was sentenced, Carter requests

a free copy of his plea agreement and sentencing transcript.                            See

Dkt. No. 398.       After careful consideration, Carter’s motion is
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denied. Although there are certain situations in which a defendant

proceeding in forma pauperis is entitled to transcripts free of

charge, this is not one of those situations.      Based on this Court’s

records, Carter does not have a pending petition for writ of habeas

corpus, nor does he have a pending appeal.          For these reasons,

Carter’s motion is DENIED.      Notwithstanding the above, the Clerk

is DIRECTED to mail Carter a copy of his docket sheet.

     SO ORDERED, this 28th of April, 2020.




                                 __________________________________
                                 HON. LISA GODBEY WOOD, JUDGE
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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